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                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK

 IN RE GREENSKY SECURITIES LITIGATION               Case No. 18-cv-11071 (AKH)




                        DECLARATION OF TYLER C. GROSSMAN

       I, Tyler C. Grossman, Executive Director of the El Paso Firemen & Policemen’s Pension

Fund (“El Paso”), one of the Court-appointed Lead Plaintiffs in this securities class action (the

“Action”), hereby declare under penalty of perjury as follows:

       1.      I am the Executive Director of El Paso. Included in my responsibilities is the

oversight and supervision of litigation that occurs on behalf of El Paso, including managing El

Paso’s relationships with outside counsel. I submit this declaration in support of (a) Lead Plaintiffs’

motion for approval of the proposed Settlement; and (b) Co-Lead Counsel’s motion for an award

of attorneys’ fees and reimbursement of Litigation Expenses, and reimbursement of Lead

Plaintiffs’ expenses.

       2.      I am aware of and understand the requirements and responsibilities of a lead

plaintiff in a securities class action as set forth in the Private Securities Litigation Reform Act of

1995 (“PSLRA”).

       3.      I have personal knowledge of the matters set forth in this Declaration, as I have

been directly involved in monitoring and overseeing the prosecution of the Action, and I could and

would testify competently thereto.

       4.      El Paso is a $1.5 billion pension fund operated for the benefit of firefighters and

police officers in El Paso, Texas.
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        5.      By Order dated March 29, 2019, the Court appointed El Paso as one of the Lead

Plaintiffs in the Action. In fulfillment of our responsibilities as Lead Plaintiff, and on behalf of all

members of the Class, I have supervised the prosecution of this Action and participated in the

negotiations that ultimately led to the proposed Settlement currently before the Court.

        6.      Since being appointed as Lead Plaintiff in March 2019, El Paso has devoted

substantial time and energy in discharging its duties as a Lead Plaintiff. On behalf of El Paso, I or

members of my staff working at my direction have, among other things: (i) regularly

communicated with Co-Lead Counsel regarding the posture and progress of the Action; (ii)

reviewed and/or discussed all significant pleadings and motions filed in the Action; (iii) given

extensive deposition testimony; (iv) searched for, reviewed, and produced documents requested

by Defendants; (v) reviewed and/or discussed significant decisions in the Action, including the

decisions to mediate and settle the case; and (vi) actively participated in the mediation that led to

the Settlement.

        7.      Based upon our good faith assessment of the strengths and weaknesses of the

Class’s claims, El Paso strongly endorses approval of the Settlement by the Court. Based on our

involvement throughout the prosecution and resolution of the Action, El Paso decided to enter into

the proposed Settlement. El Paso did so with an appreciation of the strengths and weaknesses of

our claims against Defendants and the hurdles the Class would have been required to overcome in

order to prove liability and the full amount of damages at trial.

        8.      Based on the foregoing, El Paso believes that the Settlement represents an excellent

recovery for the Class in the face of substantial litigation risks. Accordingly, El Paso strongly

recommends approval of the Settlement as fair, reasonable, and adequate.
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       9.      El Paso takes seriously its role as a Lead Plaintiff to ensure that the attorneys’ fees

are fair in light of the result achieved for the Class and reasonably compensate Co-Lead Counsel

for the work involved and the substantial risks they undertook in litigating the Action. El Paso has

evaluated Co-Lead Counsel’s fee request by considering the work performed and by considering

the substantial recovery obtained by the Class.

       10.     El Paso believes that Co-Lead Counsel’s application for attorneys’ fees of 25% of

the Settlement Fund, plus interest, and reimbursement of Litigation Expenses incurred by Co-Lead

Counsel, is fair and reasonable in light of the work performed by Co-Lead Counsel on behalf of

the Class.

       11.     El Paso is very pleased with the quality of representation provided by Co-Lead

Counsel. Throughout the course of this Action, Co-Lead Counsel has advocated zealously on

behalf of the Class and overcome many litigation hurdles. We are also mindful that Co-Lead

Counsel litigated this Action on a contingency basis, forgoing any payment unless and until

settlement or judgment was obtained.

       12.     El Paso understands that reimbursement of a Lead Plaintiff’s reasonable costs and

expenses is authorized under the PSLRA, 15 U.S.C. § 77z-1(a)(4). For this reason, El Paso seeks

reimbursement for the costs and expenses that it incurred directly relating to its representation of

the Class in the Action.

       13.     The time I, and my staff at my direction, devoted to the representation of the Class

in this Action was time that we otherwise would have expected to spend on our regular duties on

behalf of El Paso and, thus, represented a cost to El Paso. El Paso seeks reimbursement in the

amount of $1,891.76 for the time of the following personnel.
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               Personnel                      Title                 Hours      Rate      Total
         Tyler Grossman           Executive Director / CIO           14       $121.56 $1,701.84
         Christina Ramirez        Deputy Executive Director           2       $ 47.28 $ 94.56
         Michele Amaya            Executive Assistant                 4       $ 23.84 $ 95.36

                                  Total                                                  $1,891.76


       14.     The chart above sets forth the estimated cost, on an hourly basis, for the services of

each staff member who worked on this Action, in light of annual salaries, benefits, and related

administrative overhead, and the number of hours each staff member works on an annual basis.

These estimates are conservative in nature and reflect the minimum hourly costs to El Paso for the

services of the individuals in question.

       15.     For the foregoing reasons, El Paso respectfully requests that the Court approve in

full (a) Lead Plaintiffs’ motion for approval of the proposed Settlement; and (b) Co-Lead

Counsel’s motion for an award of attorneys’ fees and reimbursement of Litigation Expenses, and

reimbursement of Lead Plaintiffs’ expenses.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct, and that I have authority to execute this Declaration on behalf of the

El Paso Firemen & Policemen’s Pension Fund.


Dated: September 7, 2021




                                              Tyler C. Grossman
                                              Executive Director
                                              El Paso Firemen & Policemen’s Pension Fund
